Case 1:09-Cv-00597-LI\/|B-TCB Document 41-24 Filed 10/23/09 Page 1 of 6 Page|D# 775

EXHIBIT W

ease 1:09-cv-00597-LMB-TCB Documem 41-24 Filed 10/23/09 Page 2 or 6 Pa§ese# vi?e

Roth, Melissa R.

 

From: joe@loomisstrategies.com

Sent: Nlonday, October 19, 2009 9:52 P|V|
To: Candess Hunter; [Jickinsonl iViichelle J.
Subject: Re: the laptop

Candess,

Fyi, I have a criminal attorney working on this. She Was the public defender for Phoenix for many years
and knows the city prosecutor very Well. Relationships 1 built while Working for the feds. l expect to
have the investigation and charges filed Within a week, including Dickinson and also INTX.

l Wonder if they are going to try to lie their Way out of this one also. lt sure Will be a circus act for their
shareholders I feel bad for those who own stock of intx, a identity theft company stealing property. I
also expect to also explain this to the wsj also.

Joe

Sent via BlackBerry from T-Mobile

From: "Candess Hunter" <candess@hhylaw.com>
Date: Mon, 19 Oct 2009 17:32:37 -0700

To: Undisclosed Recipient<lnvalid address>
Subject: the laptop

Michelie, l received your letter of Oct. 16 by mail today. What a lot of revisionist history it contains!

The actual events are quite simple On or about Sept. 10 you and your client were told that NEI had Joe's |aptop
and that he wanted it returned immediately You were also told that your client‘s |aptop was in our office, and we
offered to return it immediately After you realized that the laptop in NE|'s possession in our building was Joe's
(and you knew that Joe wanted it back asap) then you and/or your client spirited Joe's |aptop out of the building
and took it out of state without permission A month passed as you continued to stal|, make excuses and put
conditions on your return of Joe's laptop. You deliberately deprived Joe of possession of his property for over a
month. That is what we here in AZ call theft

| have to tell you a true story. le daughter is also an attorney in AZ, and she had a witness in a case that was in
jai|, and the sheriff failed to transport the woman to court. | asked why the woman was in jail and learned that the
woman had a boyfriend who always left his car unlocked and his keys under the seat of his car while he was at
worl<. He had told that woman that if she needed transportation she could use his car but it had to be back when
he got off work. Some time later the woman had a need for transportation and borrowed his car from his place of
work. When he came out ofwork...no car. He called the police, and while the police were standing there, she
drove up with his car to return it. She is now doing 2 years in jail for the theft of that car!!l |n AZ we frown upon
folks taking other peop|e's property without permission

Candess J. Hunter, Esq.

HUNTER, HUMPHREY & YAVITZ, PLC
2633 E indian Schoo| Rd, #440
Phoeni><l Arizona 85016

602-276-7733 Te|ephone
480-452-1376 Facsiml|e

10/23/2009

Case 1:09-cv-00597-Ll\/lB-TCB Document 41-24 Filed 10/23/09 Page 3 of 6 PageéD§ §§
a 6

480-250-5637 Nlobile
hunter@hhylaw.com
www.hhy|aw.com

NOT|CE: This e-mail may contain confidential and privileged material for the sole use of the
intended recipient Any review or distribution by others is strictly prohibitedI |f you are not the
intended recipient please contact the sender and delete and destroy all copiesl Thank you.

---- Original lvlessage ----
From: CJH

To: "Dickinson, lViichel|e J."
Sent: 10115/2009 3:39Plv1
Subject: RE: NE| |aptop

l\lllchellel attached is an Acknowledgement of Receipt signed by your law tirm's AZ receptionist Paula l-iawley.
acknowledging the receipt of NE|'s laptop.

The police have been notified that your client, with your hele has stolen Joe's laptop and transported the stolen
|aptop out of state. We demanded its return September 10. lt was right here in our building when you learned
that it was Joe's laptop and that he wanted it back immediately After that you and/or your client spirited it out of
the building and transported it accross state lines You have spent the last 35 days making excuses on why you
didn‘t return it. l don't know about yourjurisdiction, but in AZ, if a lawyer aided and abetted a client in a theft (and
then encouraged the client to transport the stolen property across state lines) the AZ state bar would frown on
that

VVe are done tooling around with this. lt is now a police matter. l won't be surprised if you and your client are
arrested when you arrive in AZ.

Candess J. Hunter, Esq.

l-lUNTER, l-|UMPHREY & YAVITZ, Pl_C
2633 E indian School Rd, #440
Phoenix, Arizona 85016

602-275-7733 Telephone
480-452-1376 Facsimile
480-250~5637 Nlobile
hunter@hhylaw.com
www.hhylaw.com

NOTlCE: This e-rnail may contain confidential and privileged material for the sole use of the
intended recipient Any review or distribution by others is strictly prohibited lf you are not the
intended recipientl please contact the sender and delete and destroy all copiesl Thank youA

---- Origina| |Vlessage ---~
From: CJH

To: "Dickinson, Nliche|le J."
Sent: 10/15/2009 1:13P|Vl
Subject: RE: NEl laptop

V\lrong. Read my lips - The NE| laptop WlLl_ NOT remain in our othce for one more day. Your time is up.

Candess J. l-lunter. Esq.

HUNTER, l-lUlVlPl-lREY & YAVITZ, PLC
2633 E indian School Rd, #440
Phoeni)<, Arizona 85016

602-275-7733 Telephone
480~452-1376 Facsimi|e
480-250-5637 Nlobile
hunter@hhylaw.com

10/23/2009

ease 1:09-cv-00597-Ll\/ls-TCB 'Documem 41-24 Filed 10/23/09 Page 4 ore Pzit‘gsrt§a@f?s

www.hhy|aw.oom

NOT|CE: This e-mail may contain confidential and privileged material for the sole use of the
intended recipient Any review or distribution by others is strictly prohibited if you are not the
intended recipient please contact the sender and delete and destroy all copies Thank you.

----- Originai N|essage -~~-
From: "Dickinson, l\iliche||e J."
To: "Candess i-lunter"

Sent: 10/15.'2009 12:44Pivl
Subject: RE: NEl laptop

l did not see this email before l sent my last email. l assume all issues are taken care of and you will provide us
with a date and time for the exchange and imaging of the tower.

 

From: Candess Hunter [mailto:candess@hhyiaw.com]
Sent: Thursday, October 15, 2009 3:19 PM

To: Dickinson, Michelle J.

Subject: NEI laptop

Only 45 minutes to go and, if l don't hear from you, l will make the choice for you. Either it will go to NE|'s
office here in our building or to the Dl_A Piper office in AZ (that l can see out my window). lViake the choice
in the next 45 minutes, or l'll make it for you. No more footing around

Candess J. Hunter, Esq.

HUNTER, HUMPHREY & YAV|TZ, PLC
2633 E indian Schoo| Rd, #440
Phoenix, Arizona 85016

602-275-7733 Telephone
480»452-1376 Facsimiie
480-250-5637 Niobiie
hunter@hhylaw.com
www.hhyiaw.com

NOT|CE: This e-rnaii may contain confidential and privileged material for the sole use of the
intended recipient Any review or distribution by others is strictly prohibited if you are riot the
intended recipient please contact the sender and delete and destroy ali copies Thank you_

----- Originai Message -»--

From: CJH

To: "Dickinson, lVlichelle J."
Sent: 10/15/2009 10:30ANi
Subject: RE: FW: Re: NEl laptop

Michelie, isabel is out of the office today, but l saw this email and must respond You were informed on
September 10 that NE| was in possession of Joe's iaptopl that it had no NE| data on it and that Joe wanted
it back immediately The laptop was in this building in AZ, but you and NE| refused to return it, and to make
matters worse, NEl removed it from the building and from Arizona (interstate transportation of stolen
goods}. Now over a month laterl you finally send this email. acknowledging that everything Joe told you
about the iaptop was true. Let me make myself clear, you arel holding stolen propertyl The police are
being notihed. ¥ou can make ali of the excuses that you want to, but continuing to hold someone eise‘s
property after they have demanded its return is theft Look it up.

Regarding NE|'s computer, we have tried to return it to you, but you have not agreed to accept it. We tried
to deliver it to NE| right here in the building las they are moving out) but they refused it. claiming they had
to talk to °'their iawyer" first l WiLL NOT KEEP THlS CO|V|PUTER |N Ti-llS OFF|CE FOR ANOTHER
DAY. lt's your choice, either NEi accepts it downstairs or l will personally deliver it to the DLA Piper ofhce

10/23/2009

Case 1:09-cv-00597-Li\/lB-TCB Document 41-24 Filed 10/23/09 Page 5 of 6 F>ag[eal§22#4707£95

at1 pm AZ time today. Your choice. |f| don't hear from you in the next two hours, | will make the choice
for you.

Candess J. Hunterl Esq.

l-iUNTER, HUMPHREY & YAV|TZ, PLC
2633 E indian Schooi Rd, #440
Phoenix, Arizona 85016

602-275-7733 Teiephone
480-452~1376 Facsimile
480-250-5637 lViobile
hunter@hhyiaw.com
www.hhylaw.com

NOTlCE: This e-maii may contain confidential and privileged material for the sole use of the
intended recipient Any review or distribution by others is strictly prohibited if you are not the
intended recipient please contact the sender and delete and destroy all copies Thank you.

_- Originai Message --~-
From: "Dickinson, l\ilichel|e J."
To:

Sent: 1011412009 5:31Plv‘i
Subject: Re: NEI laptop

lsabel,

Our computer consultants have determined that there is no NEl data on the laptop that Joe returned to NEi a year ago.
Accordingiy, we are prepared to make arrangements for the exchange of the laptops and imaging of the tower. Piease
advise as to when Joe can get the tower out of storage for imaging so that we can set this up.

Michelle J. Dickinson

DLA Piper LLP (US)

6225 Smith Avenue

Baltimore, Maryland 21209-3600
(410) 580-4137 Direct Phone
(410) 580-3137 Direct Fax
michelle.dickinson@dlapiper.com

ATTORNEY WORK PRODUCT

----- Originai Message -----

From: isabel M l-Iumphrey <isabel@hhylaw.com>
To: Dickinson, Michelle J.

Sent: Wed Oct 14 14:49:12 2009

Subject: RE: NEi laptop

Michelle, we are not comfortable continuing to hold onto NEl's laptop. l repeatedly tried to get instructions from you
to return it, and you would not give me the name of someone at NEl authorized to accept it. You said you would send
a computer censuitant last week to pick it up, but we have heard nothing We just sent a staff member downstairs to
NEI's office to return it, and they refused to accept it. if you don't make other arrangements by the end of today, we
will put the laptop in a FedEx box and ship it to you.

ln the meantime, Joe has contacted police regarding NEI's continued refusal to return his laptop.
isabel M. I-iurnphrey, l:`,sq.
HUNTER, HUMPHREY & YAVITZ, PLC

2633 E indian School Rd, #440
Phoenix, Arizona 85016

10/23/2009

Case 1:09-cv-00597-Li\/lB-TCB Document 41-24 Filed 10/23/09 Page 6 of 6 Pd;@k£)§¢eii€§O

Telephone: 602-2?5-7733 x103
Direct Fax: 480-452- l 374
isabel@hhylaw.com
www.hhylaw.¢om

NOTICE: This e-maii may contain confidential and privileged material for the sole use of the
intended recipient Any review or distribution by others is strictly prohibited It` you are not the
intended recipient please contact the sender and delete and destroy all copies Thank you.

Please consider the environment before printing this email.

The information contained in this email may be confidential and/or legally privileged it has been sent for the sole use of
the intended recipient(s). if the reader of this message is not an intended recipient, you are hereby notified that any
unauthorized review, use, disciosure, dissemination, distribution, or copying of this communication, or any of its contents
is strictly prohibited lf you have received this communication in error, please reply to the sender and destroy ali copies of
the message To contact us directly, send to postn'iaster@.dlapiper.com. Thank you.

Please consider the environment before printing this email.

The information contained in this email may be confidential and/or legally privileged It has been sent for the sole use of the
intended recipient(s). If the reader of this message is not an intended recipient, you are hereby notified that any unauthorized
review, use, disclosure, dissemination, distribution, or copying of this communicatien, or any of its contents is strictly prohibited If
you have received this communication i'n error, please reply to the sender and destroy all copies of the messagel T`o contact us
directiy, send to postmaster@diapiper.com. Thank you.

Information from ESET NOD32 Antivirus, version of virus signature database 4511
(20091015)

The message was checked by ESET NOD32 Antivirus.

hupiwssdicom

10/23/2009

